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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Prinzo & Associates, LLC
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−03256
                                                          Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 28, 2020:


       MINUTE entry before the Honorable Gary Feinerman:The court will decide
whether to set a case schedule once it has an opportunity to see Defendants' forthcoming
motion to dismiss, which the status report indicates will be filed on or before
8/14/2020.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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